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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
 ex rel., FOX RX, INC.,                                 Civil Action No.:
                                                        1:12-CIV-00275-DLC
                       Plaintiffs,

                v.

 OMNICARE, INC.,
 NEIGHBORCARE, INC.,
 PHARMERICA CORP., and
 MHA LONG TERM CARE NETWORK,

                       Defendants.


         DECLARATION OF DANIEL S. RUZUMNA IN SUPPORT OF
        MANAGED HEALTHCARE ASSOCIATES LONG TERM CARE
    NETWORK INC.’S APPLICATION FOR ATTORNEY’S FEES AND EXPENSES

        DANIEL S. RUZUMNA hereby declares under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

        1.     I am a partner of the law firm of Patterson Belknap Webb & Tyler LLP

(“Patterson Belknap”), attorneys for defendant Managed Health Care Associates Long Term

Care Network, Inc.’s (“MHA LTC”). I am a member of the bar of the Southern District of New

York. I submit this declaration in support of MHA LTC’s Application for Attorney’s Fees and

Expenses. I am aware of the facts stated below based on my own personal knowledge and on my

review of the attached materials.

                       Patterson Belknap’s Services, Fees and Expenses

        2.     Patterson Belknap is a leading law firm of approximately 200 attorneys in New

York City, having particular expertise in litigation. We are regularly engaged by Fortune 500

companies to handle their most important matters.


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        3.     Attached hereto as Exhibit 1 is a compilation of the time entries reflecting the

fees and expenses of Patterson Belknap in this case from January 10, 2014 through October 31,

2014. Every Patterson Belknap attorney, legal assistant and support staff member records his or

her billable time, to the tenth of an hour, spent on a case together with a description of the work

that was done. At our firm this record is called a “daynote.”

        4.     Individual daynotes are entered into the firm’s billing system, where each separate

matter has an assigned client and matter number for billing purposes. At the end of each month,

the total number of hours spent by each attorney, paralegal or litigation support staff member is

multiplied by the hourly rate for that individual. The time entries form the basis for an invoice to

the client.

        5.     Before Patterson Belknap submits an invoice to a client, it is reviewed internally,

usually by the billing partner, to confirm the reasonableness of the time worked on the matter

and the expenses incurred and the corresponding amount billed. I personally reviewed and found

reasonable all of the time entries and disbursements included in Exhibit 1 on a monthly basis

over the period from January 10, 2014 to October 2014.

        6.     All of the time entries and disbursements included in Exhibit 1 were submitted by

me directly to the electronic billing system for MHA LTC’s ultimate corporate parent, Roper

Industries. The relevant accounts payable department did not question any amounts billed by

Patterson Belknap and authorized payment in full to the Patterson firm on MHA LTC’s behalf.

        7.     The total of the relevant fees and expenses billed to MHA LTC after January 10,

2014 by Patterson Belknap in connection with this case is $168,967.61. Approximately $33,000

of this total amount was billed after this Court’s August 12, 2014 decision granting MHA LTC’s

Motion to Dismiss the Second Amended Complaint, and covers work related to Fox Rx, Inc.’s




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potential appeal, the scheduled mediation in front of Magistrate Judge Fox, and MHA LTC’s

motion seeking attorney’s fees and expenses.

        8.     The following attorneys at Patterson Belknap worked on this case:


        Name             Position              Law School                 J.D.          Profile
                                                                        Received        Exhibit
Adam Blumenkrantz       Associate     University of Michigan            2006         Exhibit 3
                                      School of Law
Aileen Fair             Associate     University of Pennsylvania        2010         Exhibit 4
                                      Law School
Daniel S. Ruzumna       Partner       University of Michigan            1994         Exhibit 2
                                      School of Law

        9.     The Patterson Belknap attorneys who worked on this case, the number of hours

spent by each, and the total rate incurred during the course of the case are set forth on page 7 in

Exhibit 1.

        10.    True and correct copies of profiles from Patterson Belknap’s website for each of

the attorneys who worked on the case are attached as Exhibits 2-4.

        11.    The rates charged by Patterson Belknap were reasonable and lower than the

average rates of peer firms in New York City.

        12.    The accounting firm PricewaterhouseCoopers (“PwC”) collects data from various

law firms and provides averages to subscribers of its service. Patterson Belknap subscribes to

this service in the regular course of business in order to ensure that its rates are reasonable and

competitive.

        13.    PwC’s statistics show that in 2014, the average New York City firm within

Patterson Belknap’s peer group charged $942 per hour for partners for non-IP litigation.

Patterson Belknap charged MHA LTC substantially less for my services—$836 per hour.




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         14.     PwC’s statistics for 2014 also list average associate rates depending on class year.

The rates Patterson Belknap charged to MHA LTC during 2014 compare favorably to the rates

listed by PwC for firms in Patterson Belknap’s peer group:


      Associate Year        Rate Charged to MHA LTC           Average New York City Peer
                               by Patterson Belknap            Group Firm Rate (Non-IP)
               1st                      N/A                              $395
               2nd                      N/A                              $473
               3rd                      N/A                              $550
               4th                    $541.50                            $593
               5th                      N/A                              $619
               6th                      N/A                              $670
               7th                      N/A                              $688
               8th                    $631.75                            $695


I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.

Dated:       New York, New York
             December 12, 2014

                                                      /s/ Daniel S. Ruzumna
                                                       Daniel S. Ruzumna




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